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                     IN T H E UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                                 NEWNAN DIVISION

G L O R I A KERR,                          :

      Plaintiff                            :
                                                      CIVIL ACTION FILE
vs.                                        :
                                                      NO.:     3:15-cv-28-TCB
CHELSEA KERR RICHMOND                      :



      Defendant

Pretrial Conference is not requested.
                                PRETRIAL ORDER

                                            1.

        There are no motions or other maters pending for consideration by the court except
 as noted:

                                          NONE




                                            2.

        A l l discovery has been completed, unless otherwise noted, and the court w i l l not
 consider any fiirther motions to compel discovery. (Refer to L R 37.IB). Provided there is
 no resulting delay i n readiness for trial, the parties shall, however, be permitted to talce the
 depositions o f any persons for the preservation o f evidence and for use at trial.

                                          N/A
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                                          3.

       Unless otherwise noted, the names o f the parties as shown i n the caption to this Order
and the capacity i n which they appear are correct and complete, and there is no question by
any party as to the misjoinder or non-joinder o f any parties.



                                        N/A


                                          4.

        Unless otherwise noted, there is no question as to the jurisdiction o f the court;
jurisdiction is based upon the following code sections. (When there are multiple claims, list
each claim and its jurisdictional basis separately.)

                                        N/A




                                          5.

        The following individually-named attorneys are hereby designated as lead counsel for
the parties:
        Plaintiff:       Jason G . Smith, E s q .




       Defendant:          Chelsea Richmond, P r Se




        Other Parties: (specify)
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                                              6.

       Normally, the plamtiff is entitled to open and close arguments to the jury. (Refer to
LR39.3(B)(2)(b)). State below the reasons, i f any, w h y the plaintiff should not be permitted
to open arguments to the jury.

                                           NONE




                                              7.

        The captioned case shall be tried ( ^ ) to a j u r y or ( X ) to the court without a jury,
or (      ) the right to trial by j u r y is disputed.

                                              8.

          State whether the parties request that the trial to a j u r y be bifurcated, i.e. that the same
j u r y consider separately issues such as liability and damages. State briefly the reasons w h y
trial should or should not be bifurcated.

          Plaintiff contends that neither party has demanded a jury and at this late date


 any such demand should be deemed waived. Defendant requests "that the trial be

 bifurcated, so that this case may be tried in a timely and efficient            manner."


        Attached hereto as Attachment " A " and made a part o f this order by reference are the
questions which the parties request that the court propound to the jurors conceming their legal
qualifications to serve.

       Plaintiff contends that Defendant has waived her right to a jury trial. Defendant's
 Attachment " A " is attached hereto.
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                                             10.

        Attached hereto as Attachment " B - 1 " are the general questions which plaintiff wishes
to be propounded to the jurors on voir dire examination.
        Attached hereto as Attachment "B-2" are the general questions which defendant
wishes to be propounded to the jurors on voir dire examination.
        Attached hereto as Attachment "B-3", "B-4", etc. are the general questions which the
remaining parties, i f any, wish to be propounded to the jurors on voir dire examination.
         The court, shall question the prospective jurors as to their address and occupation and
as to the occupation o f a spouse, i f any. Counsel may be permitted to ask follow-up questions
on these matters. I t shall not, therefore, be necessary for counsel to submit questions
regarding these matters. The determination o f whether the judge or counsel w i l l propound
general voir dire questions is a matter o f courtroom policy which shall be established by each
judge.
                                           N/A
                                             11.

        State any objections to p l a i n t i f f s voir dire questions:

                                            N/A




        State any objections to defendant's voir dire questions:

                                           N/A




        State any objections to the voir dire questions o f the other parties, i f any:

                                            N/A




                                             12.
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        A l l civil cases to be tried wholly or i n part by j u r y shall be tried before a j u r y
consisting o f not less than six (6) members, unless the parties stipulate otherwise. The parties
must state in the space provided below the basis for any requests for additional strikes. Unless
otherwise directed herein, each side as a group w i l l be allowed the number o f peremptory
challenges as provided by 28 U.S.C. § 1870. See FedR.Civ.P. 47(b).

          Plaintiff: N/A              Defendant: None




                                              13.

       State whether there is any pending related litigation. Describe briefly, including style
and civil action number.

                                            NONE




                                              14.

         Attached hereto as Attachment " C " is p l a i n t i f f s outline o f t h e case which includes a
succinct factual summary o f p l a i n t i f f s cause o f action and which shall be neither
argumentative nor recite evidence. A l l relevant mles, regulations, statutes, ordinances, and
illustrative case law creating a specific legal duty relied upon by plaintiff shall be listed under
a separate heading. I n negligence cases, each and every act o f negligence relied upon shall
be separately listed. For each item o f damage claimed, plaintiff shall separately provide the
following information: (a) a brief description o f the item claimed, for example, pain and
suffering; (b) the dollar amount claimed; and (c) a citation to the law, mle, regulation, or any
decision authorizing a recovery f o r that particular item o f damage. Items o f damage not
identified i n this manner shall not be recoverable.

                                              15.

       Attached hereto as Attachment " D " is the defendant's outline o f the case which
includes a succinct factual summary o f all general, special, and affirmative defenses rehed
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upon and which shall be neither argumentative nor recite evidence. A l l relevant rales,
regulations, statutes, ordinances, and illustrative case law relied upon as creating a defense
shall be listed under a separate heading. For any counterclaim, the defendant shall separately
provide the following information for each item of damage claimed: (a) a brief description o f
the item claimed; (b) the dollar amount claimed; and (c) a citation to the law, rale, regulation,
or any decision authorizing a recovery for that particular item o f damage. Items o f damage
not identified i n this manner shall not be recoverable.

                                             16.

          Attached hereto as Attachment "E" are the facts stipulated by the parties. N o ftirther
evidence w i l l be required as to the facts contained i n the stipulation and the stipulation may
be read into evidence at the beginning o f the trial or at such other time as is appropriate in the
trial o f the case. It is the duty o f counsel to cooperate f u l l y w i t h each other to identify all
undisputed facts. A refiisal to do so may result i n the imposition o f sanctions upon the non-
cooperating coimsel.

                                             17.

        The legal issues to be tried are as follows:          1) Whether Defendant fraudulently

  induced Plaintiff into the contract to pay Plaintiff $200,000 of the life insurance

 proceeds. 2) Attorney fees and costs necessitated by Defendant's fraudulent conduct,

 her stubborn and litigious conduct, and under O C G A 13-6-11.                   Defendant contends

 that her counterclaim for attorney fees should be tried, however, Plaintiff contends
                                             1 o
 that Defendant's counterclaims                      were resolved by summary judgment.

        Attached hereto as Attachment " F - l " for the plaintiff. Attachment "F-2" for the
defendant, and Attachment "F-3", etc. for all other parties is a list o f all the witnesses and their
addresses for each party. The list must designate the witnesses whom the party w i l l have
present at trial and those witnesses whom the party may have present at trial. Expert (any
witness who might express an opinion under Rule 702), impeachment and rebuttal witnesses
whose use as a witness can be reasonably anticipated must be included. Each party shall also
attach to the list a reasonable specific summary o f the expected testimony o f each expert
witness.
        A l l o f the other parties may rely upon a representation by a designated party that a
witness w i l l be present unless notice to the contrary is given ten (10) days prior to trial to
allow the other party(s) to subpoena the witness or to obtain the witness' testimony by other
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means. Witnesses who are not included on the witness list (including expert, impeachment
and rebuttal witnesses whose use should have been reasonably anticipated) w i l l not be
permitted to testify, unless expressly authorized by court order based upon a showing that the
failure to comply was justified.

                                            19.

           Attached hereto as Attachment " G - 1 " f o r the plaintiff, "G-2" for the defendant, and
"G3", etc. for all other parties are the typed lists o f all documentary and physical evidence that
w i l l be tendered at trial. Learned treatises which are expected to be used at trial shall not be
admitted as exhibits. Counsel are required, however, to identify all such treatises under a
separate heading on the party's exhibit list.
           Each party's exhibits shall be numbered serially, beginning w i t h 1, and without the
inclusion o f any alphabetical or numerical subparts. Adequate space must be left on the left
margin o f each party's exhibit list for court stamping purposes. A courtesy copy o f each
party's list must be submitted for use by the judge.
           Prior to trial, counsel shall mark the exhibits as numbered on the attached lists by
affixing numbered yellow stickers to p l a i n t i f f s exhibits, numbered blue stickers to
defendant's exhibits, and numbered white stickers to joint exhibits. When there are multiple
plaintiffs or defendants, the surname o f the particular plaintiff or defendant shall be shown
above the number on the stickers for that party's exhibits.
           Specific objections to another party's exhibits must be typed on a separate page and
must be attached to the exhibit list o f the party against whom the objections are raised.
Objections as to authenticity, privilege, competency, and, to the extent possible, relevancy o f
the exhibits shall be included. A n y listed document to which an objection is not raised shall
be deemed to have been stipulated as to authenticity b y the parties and shall be admitted at
trial without further proof o f authenticity.
            Unless otherwise noted, copies rather than originals of documentary evidence may be
 used at trial. Documentary or physical exhibits may not be submitted by counsel after filing
 o f the pretrial order, except upon consent o f all the parties or permission o f the court. Exhibits
 so admitted must be numbered, inspected by counsel, and marked w i t h stickers prior to trial.
            Counsel shall familiarize themselves w i t h all exhibits (and the numbering thereof)
prior to trial. Counsel w i l l not be afforded time during trial to examine exhibits that are or
should have been listed.

                                            20.
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        The following designated portions o f the testimony o f the persons listed below may
be introduced by deposition:




                                         NONE




A n y objections to the depositions o f the foregoing persons or to any questions or answers i n
the depositions shall be fded i n writing no later than the day the case is first scheduled for
trial. Objections not perfected i n this maimer w i l l be deemed waived or abandoned. A l l
depositions shall be reviewed by counsel and all extraneous and unnecessary matter, including
non-essential colloquy o f counsel, shall be deleted. Depositions, whether preserved by
stenographic means or videotape, shall not go out w i t h the jury.

                                            21.

        Attached hereto as Attachments " H - 1 " f o r the plaintiff, "H-2" for the defendant, and
"H-3", etc. f o r Other parties, are any trial briefs which counsel may wish to file containing
citations to legal authority conceming evidentiary questions and any other legal issues which
counsel anticipate w i l l arise during the trial o f the case. Limitations, i f any, regarding the
format and length o f trial briefs is a matter o f individual practice which shall be established
by each judge.

                                            22.

        I n the event this is a case designated f o r trial to the court w i t h a jury, requests for
charge must be submitted no later than 9:30 a.m. on the date on which the case is calendared
(or specially set) for trial. Requests which are not timely filed and which are not otherwise
i n compliance w i t h L R 51.1, w i l l not be considered. I n addition, each party should attach to
the requests to charge a short (not more than one (1) page) statement o f that party's
contentions, covering both claims and defenses, which the court may use i n its charge to the
jury.
        Counsel are directed to refer to the latest edition of the Eleventh Circuit District Judges
Association's Partem Jury Instmctions and Devitt and Blackmar's Federal Jury Practice and
Instructions i n preparing the requests to charge. For those issues not covered by the Pattern
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Instmctions or Devitt and Blackmar, counsel are directed to extract the applicable legal
principle (with minimum verbiage) f r o m each cited authority.
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                                            23.

      I f counsel desire for the case to be submitted to the j u r y i n a manner other than upon
a general verdict, the form o f submission agreed to by all counsel shall be shown i n
Attachment " I " to this Pretrial Order. I f counsel cannot agree on a special f o r m o f
submission, parties w i l l propose their separate forms for the consideration o f the court.

                                            24.

       Unless otherwise authorized by the court, arguments i n all j u r y cases shall be limited
to one-half hour for each side. Should any party desire any additional time for argument, the
request should be noted (and explained) herein.


                                           N/A


                                            25.

       I f the case is designated for trial to the court without a jury, counsel are directed to
submit proposed finding o f fact and conclusions o f law not later than the opening o f trial.

                                            26.

         Pursuant to L R 16.3, lead counsel and persons possessing settlement authority to bind
the parties met in person on at mediation on M a y 25             20 17 , to discuss i n good faith
the possibility o f settlement o f this case. The court Q has or ( ) has not discussed settlement
o f this case with counsel. I t appears at this time that there is:
             (         ) A good possibility o f settlement.
             (         ) Some possibility o f settlement.
             (         ) Little possibility o f settlement.
             ( _ _ X _ ) N o possibility o f settlement.

                                            27.

            Unless otherwise noted, the court w i l l not consider this case for a special setting, and
it w i l l be scheduled by the clerk i n accordance w i t h the normal practice o f the court.
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                                           28.

         The plaintiff estimates that it w i l l require ^ day to present its evidence. The
defendant estimates that i t w i l l require 1 days to present its evidence. The other parties
estimate t h a t j t w i l l require days to present their evidence. I t is estimated that the
total trial time is j _ day.

                                           29.

         I T IS HEREBY<5RDERED that the above constitutes the pretrial order for the above
captioned case (        submitted by stipulation o f the parties or (    ) approved by the court
after conference w i t h the parties.
         I T IS FURTHER ORDERED that the foregoing, including the attachments thereto,
constitutes the pretrial order i n the above case and that it supersedes the pleadings which are
hereby amended to conform hereto and that this pretrial order shall not be amended except by
Order o f the court to prevent manifest injustice. A n y attempt to reserve a right to amend or
add to any part o f the pretrial order after the pretrial order has been filed shall be invahd and
o f no effect and shall not be binding upon any party or the court, unless specifically authorized
i n writing by the court.                      ^      i                         I       I
         I T IS SO ORDERED this              / 3 f K.        day o f                    y \ r "  ^
201   f •



                                      I.   ^1^
                                    U N I T E D STATES D I S T R I C T JUDGE

Each o f the undersigned counsel for the parties hereby consents to entry o f the foregoing
pretrial order, which has been prepared i n accordance w i t h the f o r m pretrial order adopted by
this court.

 /s/Jason G. Smith                                  /«/ Chelsea Richmond w/ express
                                                                         permission
Counsel f o r Plaintiff                            Counsel for Defendant Pro Se
